                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:17-cr-00089-MOC-DCK

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                     ORDER
                                              )
 HECTOR TELLEZ-CRISANTO,                      )
                                              )
                  Defendant.                  )



       THIS MATTER is before the Court on defendant’s Motion to Enlarge Time to File

Pretrial Motions, which is contained within defendant’s Motion to Continue (#44). Having

considered defendant’s motion and reviewed the pleadings, the Court enters the following Order.

                                         ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Enlarge Time to File

Pretrial Motions (#44) is GRANTED, and defendant is allowed an additional 60 days within

which to file such motions.




 Signed: May 8, 2017




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